10/10/2019                                  PersonnelFiled
                Case 1:19-cv-01339 Document 1-11      | Rapides Parish Sheriff's
                                                             10/11/19        PageOffice1 of 2 PageID #: 26




   Home (/) >> Departments (/departments) >> Personnel



        DEPARTMENTS
   Bonds & Fines (/bonds-and- nes)

                Civil (/civil)

      Criminal Records (/criminal-
                records)

      Finance (/divisions/ nance)

         Personnel (/personnel)

  Tax Department (/tax-department)




  PERSONNEL
  Hours of operation are 8:00 am to 4:30 pm, Monday through Friday.
  Contact Information:
  Rapides Parish Sheriff's O ce
  Human Resources Department
  701 Murray St., Suite 300, Alexandria, LA, 71301


  Alma Perkins - (318) 449-5494 - Email (mailto:aperkins@rpso.la.gov)
  Elizabeth Kartsimas - (318) 473-6853 - Email
  (mailto:ekartsimas@rpso.la.gov)
  Application Process
  Applications for employment can be downloaded or picked-up from and returned
  to Human Resources on the third oor of the Rapides Parish Courthouse.
  Interviews are done by appointment only with the Director of Human Resources.
  RPSO Employment Application
  (/sites/default/ les/RPSO%20Application%20%20For%20Email.PDF)

  RPSO is currently taking applications for Correctional
  O cers and "P.O.S.T. certi ed" Police O cers.
  Requirements for Corrections Deputy
         MUST be 21 years of age
         Ability to work shift work
         Have High School diploma or Equivalency Diploma
         Have physical ability to perform all Corrections Deputy duties
www.rpso.org/personnel                                                                                       3/5
10/10/2019                                   PersonnelFiled
                 Case 1:19-cv-01339 Document 1-11      | Rapides Parish Sheriff's
                                                              10/11/19        PageOffice2 of 2 PageID #: 27
         Have physical ability to perform all Corrections Deputy duties
         Pass pre-employment drug screen
         Pass pre-employment physical
         Pass pre-employment psychological evaluation


  Requirements for Enforcement Deputy
         MUST be 21 years of age
         Ability to work shift work
         Have High School diploma or Equivalency Diploma
         Have physical ability to perform all Enforcement Deputy duties
         Pass pre-employment drug screen
         Pass pre-employment physical
         Pass pre-employment polygraph
         Must have Peace O cer Standard and Training (P.O.S.T.) Certi cation




      EXECUTIVE                                                          DIVISIONS              DEPARTMENTS RESOURCES
      R.P.S.O. Internal (http://internal.rpso.org/)                      Executive (/executive) Bonds & Fines (/bonds- Activities For Kids
                                                                                                  and- nes)              (/activities-kids)
      Contact R.P.S.O. (http://rpso.brandwithred.com/contact-rpso)       Corrections
                                                                         (/corrections-division) Civil (/civil)          Citizens' Academy
      Internal Affairs (http://rpso.brandwithred.com/internal-affairs)                                                   (/citizens-academy)
                                                                         Criminal Investigations Criminal Records
      Media Relations (http://rpso.brandwithred.com/media-relations)     (/criminal-              (/criminal-records)    Hunter's Safety
                                                                         investigations-division)                        (/hunters-safety-
                                                                                                  Finance
                                                                                                                         education)
                                                                         Metro Narcotics          (/divisions/ nance)
                                                                         (/metro-narcotics-                              Crime Stoppers
                                                                                                  Personnel (/personnel)
                                                                         division)                                       (/crime-stoppers)
                                                                                                Tax Department (/tax-
                                                                         Support Services                             Crime Victims
                                                                                                department)
                                                                         (/support-services)                          Reparations Advocate
                                                                                                                      (/crime-victims-
                                                                         Uniform (/uniform)
                                                                                                                      reparations-advocate)

                                                                                                                        Law Enforcement Links
                                                                                                                        (/law-enforcement-
                                                                                                                        links)

                                                                                                                        Safety Tips (/safety-
                                                                                                                        tips)

                                                                                                                        Sex Offender Registry
                                                                                                                        (http://www.sheriffalerts.com/c
                                                                                                                        o ce=54331)

                                                                                                                        Youth Programs
                                                                                                                        (/youth-programs)


      RAPIDES PARISH SHERIFF’S OFFICE
      700 Murray St., Alexandria, LA 71301




www.rpso.org/personnel                                                                                                                             4/5
